                                                                             Case 2:19-cv-01284-JCM-VCF Document 130
                                                                                                                 131 Filed 11/02/20
                                                                                                                           11/06/20 Page 1 of 2




                                                                         1 Scott S. Thomas, NV Bar No. 7937
                                                                           sst@paynefears.com
                                                                         2 Sarah J. Odia, NV Bar No. 11053
                                                                           sjo@paynefears.com
                                                                         3 PAYNE & FEARS LLP
                                                                           6385 S. Rainbow Blvd., Suite 220
                                                                         4 Las Vegas, Nevada 89118
                                                                           Telephone: (702) 851-0300
                                                                         5 Facsimile: (702) 851-0315

                                                                         6 Attorneys for CENTEX HOMES

                                                                         7
                                                                                                       UNITED STATES DISTRICT COURT
                                                                         8
                                                                                                              DISTRICT OF NEVADA
                                                                         9

                                                                        10 CENTEX HOMES, a Nevada general            Case No.: 2:19-cv-01284-JCM-VCF
                                                                           partnership,
                                                                        11
PAYNE & FEARS LLP




                                                                                        Plaintiff,                   STIPULATION FOR DISMISSAL
                                                                        12
                    6385 S. RAINBOW BLVD., SUITE 220




                                                                                                                     WITH PREJUDICE OF DEFENDANT
                       LAS VEGAS, NEVADA 89118




                                                                                  v.                                 FINANCIAL PACIFIC INSURANCE
                                                                        13
                           ATTORNEYS AT LAW




                                                                                                                     COMPANY AND [PROPOSED] ORDER
                                                       (702) 851-0300




                                                                        14 FINANCIAL PACIFIC INSURANCE
                                                                           COMPANY, a California corporation;
                                                                        15 EVEREST NATIONAL INSURANCE
                                                                           COMPANY, a Delaware corporation; ST.
                                                                        16 PAUL FIRE AND MARINE INSURANCE
                                                                           COMPANY, a Connecticut corporation;
                                                                        17 ARCH SPECIALTY INSURANCE
                                                                           COMPANY, a Nebraska corporation;
                                                                        18 INTERSTATE FIRE & CASUALTY
                                                                           COMPANY, an Illinois corporation;
                                                                        19 LEXINGTON INSURANCE COMPANY,

                                                                        20 a Delaware corporation; NAVIGATORS
                                                                           SPECIALTY INSURANCE COMPANY, a
                                                                        21 New York corporation; FEDERAL
                                                                           INSURANCE COMPANY, an Indiana
                                                                        22 corporation; FIRST MERCURY
                                                                           INSURANCE COMPANY, an Illinois
                                                                        23 corporation; FIRST SPECIALTY
                                                                           INSURANCE CORPORATION, a
                                                                        24 Missouri corporation; and AXIS SURPLUS
                                                                           INSURANCE COMPANY, an Illinois
                                                                        25 corporation,

                                                                        26
                                                                                         Defendants.
                                                                        27

                                                                        28                                            -1-             Case No. 2:19-cv-01284-JCM-VCF
                                                                                           STIPULATION FOR DISMISSAL WITH PREJUDICE OF DEFENDANT
                                                                                         FINANCIAL PACIFIC INSURANCE COMPANY AND [PROPOSED] ORDER
                                                                             Case 2:19-cv-01284-JCM-VCF Document 130
                                                                                                                 131 Filed 11/02/20
                                                                                                                           11/06/20 Page 2 of 2




                                                                         1          IT IS HEREBY STIPULATED by and between Plaintiff CENTEX HOMES (“Plaintiff”)

                                                                         2 and Defendant FINANCIAL PACIFIC INSURANCE COMPANY (“Defendant”), through their

                                                                         3 respective attorneys of record, that Plaintiff's Complaint filed against Defendant shall be dismissed

                                                                         4 with prejudice pursuant to FRCP 41(a)(2). Each party shall bear their own attorneys’ fees and costs.

                                                                         5   Dated: November 2, 2020                              Dated: November 2, 2020
                                                                         6   PAYNE & FEARS LLP                                    YARON & ASSOCIATES
                                                                         7
                                                                             By:    /s/ Sarah J. Odia                             By:      /s/ George D. Yaron
                                                                         8      Sarah J. Odia, Esq.                                     George D. Yaron, Esq.
                                                                                6385 S. Rainbow Blvd, Suite 220                         1300 Clay Street, Ste. 800
                                                                         9      Las Vegas, NV 89118                                     Oakland, CA 94612
                                                                                (702) 851-0300                                          (415) 658-2929
                                                                        10
                                                                             Attorneys for Plaintiff                              Attorneys for Defendant FINANCIAL
                                                                        11   CENTEX HOMES
PAYNE & FEARS LLP




                                                                                                                                  PACIFIC INSURANCE COMPANY
                                                                        12
                    6385 S. RAINBOW BLVD., SUITE 220
                       LAS VEGAS, NEVADA 89118




                                                                        13
                           ATTORNEYS AT LAW




                                                                                                                         ORDER
                                                       (702) 851-0300




                                                                        14          IT IS SO ORDERED that Plaintiff's claims against Defendant Financial Pacific Insurance
                                                                        15 Company in the instant matter, Case No. 2:19-cv-01284-JCM-VCF, are dismissed with prejudice.

                                                                        16 Plaintiff and Defendant shall bear their own attorneys’ fees and costs.

                                                                        17

                                                                        18
                                                                                   November 6, 2020
                                                                        19 DATED: _________________

                                                                        20

                                                                        21
                                                                                                                         ______________________________________
                                                                        22                                               JAMES C. MAHAN
                                                                                                                         UNITED STATES DISTRICT COURT JUDGE
                                                                        23

                                                                        24

                                                                        25

                                                                        26

                                                                        27

                                                                        28
                                                                                                                            -2-                    Case No. 2:19-cv-01284-JCM-VCF
                                                                                             STIPULATION FOR DISMISSAL WITH PREJUDICE OF DEFENDANT
                                                                                           FINANCIAL PACIFIC INSURANCE COMPANY AND [PROPOSED] ORDER
